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 1                                                            THE HONORABLE RICHARD A. JONES
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 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
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 9   BLACK LIVES MATTER SEATTLE-                          No. 2:20-cv-00887-RAJ
     KING COUNTY, ABIE EKENEZAR,
10   SHARON SAKAMOTO, MURACO                              DECLARATION OF JOHN MITCHELL IN
     KYASHNA-TOCHA, ALEXANDER                             SUPPORT OF PLAINTIFFS’ MOTION FOR
11   WOLDEAB, NATHALIE GRAHAM,                            CONTEMPT
     AND ALEXANDRA CHEN,
12
                              Plaintiffs,
13
              v.
14
     CITY OF SEATTLE,
15
                              Defendant.
16
17
              I, John Mitchell, declare and state as follows:
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              1.       The information contained in this declaration is true and correct to the best of my
19
     knowledge, and I am of majority age and competent to testify about the matters set forth herein.
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              2.       I work as a Principal Crisis Manager at Microsoft. In June 2020, after witnessing
21
     the protests in Seattle, I also began working as a producer with Converge Media (“Converge”).
22
              3.       I am a Seattle resident, and I live on East Pine Street next to the Seattle Police
23
     Department’s East Precinct. I do not have a history of protesting against the police. Given the
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     proximity of my home to the East Precinct, prior to the protests, I would often share cigars with
25
     the officers.
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      MITCHELL DECL. ISO MOTION FOR                                                 Perkins Coie LLP
      CONTEMPT (No. 2:20-cv-00887-RAJ) –1                                     1201 Third Avenue, Suite 4900
                                                                                Seattle, WA 98101-3099
                                                                                  Phone: 206.359.8000
     149086848.1                                                                   Fax: 206.359.9000
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 1            4.       I became active in documenting the Seattle protests after witnessing the police
 2   tactics used against peaceful protestors. Between June 6 and June 10, 2020, I documented the
 3   protests from my residence, which is on the street level and faces East Pine. I repeatedly
 4   suffered exposure to tear gas and pepper spray in my home. On July 1, I started working with
 5   Converge as a producer, primarily supporting Omari Salisbury while he’s reporting.
 6            5.       The most significant and by far the worst use of force against protestors I’ve
 7   witnessed occurred on July 25, 2020. Our cameraman captured video of the entire July 25th
 8   incident described below, a true and correct copy of which is attached hereto as Exhibit A.
 9            6.       On July 25, I was out on the street with Converge documenting the protests.
10   I was standing off to the side of the street with a group of members of the media, and I had
11   my press badge clearly displayed. The police began deliberately attacking our group by
12   throwing blast balls right at us, even though our group only contained members of the
13   media. Ex. A at 0:10-0:55
14            7.       The police repeatedly lobbed explosive devices far into the crowd that
15   seemed to explode at shoulder or head level. Ex. A at 0:10-1:50.
16            8.       One blast ball exploded very close to me, and a piece of shrapnel hit me in my
17   neck and on my arm. Ex. A at 0:10-0:15. Even though I was wearing a neck covering, I felt
18   extreme pain and I had to be helped to the ground because I could barely stand. Ex. A at 0:15-
19   0:25. I still can’t hear correctly out of my right ear due to the explosion. I took a picture of my
20   injury, a true and correct copy of which is attached hereto as Exhibit B.
21            9.       Within two minutes after being hit, my colleagues and I began quickly moving
22   away from the area and away from the advancing officers. There was a large crowd in our
23   path as we retreated, so we could only move as fast as the people in front of us. I held my
24   press badge over my right shoulder to make sure that the police could still identify me as
25   press. Ex. A at 2:50-3:15. As I was walking away, the police started quickly advancing on us
26   and pulled out OC spray. Ex. A at 2:30-2:55. I did not hear a dispersal order or any

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 1   warning, and the police began indiscriminately spraying blue dye OC spray into our group.
 2   I was sprayed by blue dye OC spray on my face and arm. Ex. A at 2:50-3:15. The dye also
 3   completely covered my press credentials. Attached as Exhibits C-D are true and correct copies
 4   of pictures of me after being sprayed by the blue dye OC spray.
 5            10.      After being sprayed in the face with blue dye OC spray, a colleague attempted to
 6   administer saline solution and water to flush my eyes. Ex. A at 3:35-4:05. The police forced us
 7   to keep moving and wouldn’t let us to stop so I could get medical aid.
 8            11.      The OC spray the officers deployed on me caused a painful burning sensation for
 9   days. It felt worse than any sunburn I’ve ever experienced; it felt as if my skin was on fire.
10   Additionally, the spray stained my skin for days. I took over a dozen showers to try to get the
11   blue off, and showering only increased the pain of the OC spray and spread the burning sensation
12   to different places. I still have remnants of the blue dye on my fingers.
13            12.      In addition to causing physical pain, the blue dye of the OC spray is humiliating
14   and made me feel as if I was being “marked” by the police in a way that is both dehumanizing
15   and meant to keep me from attending protests. I also fear retaliation if I’m seen in public with
16   the blue dye.
17            13.      Because my residence is located next to the East Precinct, I live in constant fear. I
18   have underlying sleep problems that have been exacerbated by my fear of law enforcement
19   during the protests. I’m afraid that officers will see me (stained in blue dye) and retaliate against
20   me at night. Since July 25, I take sleeping medication nightly and I still only average around
21   four hours of sleep a night.
22            14.      I’m a single father, and I haven’t had my daughter sleep at my residence since the
23   protests started. I am not scared of the protestors; rather, I am scared of police tactics and
24   the violence and brutality I’ve witnessed and experienced.
25
26            Executed this 3rd day of August 2020 at Seattle, Washington.

      MITCHELL DECL. ISO MOTION FOR                                                Perkins Coie LLP
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 1            I declare under penalty of perjury under the laws of the United States and the State of
 2   Washington that the foregoing is true and correct.
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 4                                                                     By:________________________
 5                                                                                          John Mitchell
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      MITCHELL DECL. ISO MOTION FOR                                              Perkins Coie LLP
      CONTEMPT (No. 2:20-cv-00887-RAJ) –4                                  1201 Third Avenue, Suite 4900
                                                                             Seattle, WA 98101-3099
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           EXHIBIT A

                 TO BE SHARED
               VIA FILE TRANSFER
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           EXHIBIT B
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           EXHIBIT C
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            EXHIBIT D
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